Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 1 of 14 PageID# 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


  DR. PETER A. MCCULLOUGH                      )
                                               )
          Plaintiff,                           )
                                               )
  v.                                           )              Case No. 1:22-cv-1099
                                               )
                                               )              TRIAL BY JURY
  GANNETT CO., INC.,                           )              IS DEMANDED
  BARTLESVILLE EXAMINER-                       )
       ENTERPRISE,                             )
  ANUJ S. MALIK                                )
                                               )
  -and-                                        )
                                               )
  ASCENSION ST. JOHN HOSPITAL                  )
                                               )
          Defendants.                          )
                                               )



                                 COMPLAINT
          Plaintiff, Dr. Peter A. McCullough (“Dr. McCullough”), by counsel, files the

  following Complaint against Defendants, Gannett Co., Inc. (“Gannett”), Bartlesville

  Examiner-Enterprise (“BEE”), Anuj S. Malik (“Malik”) and Ascension St. John Hospital

  (“Ascension”), jointly and severally.

          Dr. McCullough seeks (a) compensatory damages and punitive damages in the

  total sum of $10,000,000.00, (b) prejudgment interest on the principal sum awarded by

  the Jury from October 2, 2021 to the date of Judgment, and (c) court costs – arising out of

  Defendants’ defamation.




                                              1
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 2 of 14 PageID# 2




                                   I. INTRODUCTION

         1.      Dr. McCullough is an internist, cardiologist, and epidemiologist. He is

  board certified in internal medicine and cardiovascular disease and holds an additional

  certification in clinical lipidology. He has broadly published on a range of topics in

  medicine with > 1000 publications and > 660 citations in the National Library of

  Medicine. He practices both internal medicine, including the management of common

  infectious diseases, as well as the cardiovascular complications of both the viral infection

  and the injuries developing after the COVID-19 vaccine.           Since the outset of the

  pandemic, Dr. McCullough has been a leader in the medical response to COVID-19. He

  published, Pathophysiological Basis and Rationale for Early Outpatient Treatment of

  SARS-CoV-2 (COVID-19) Infection, the first synthesis of sequenced multi-drug treatment

  of ambulatory patients infected with SARS-CoV-2 in the American Journal of Medicine

  (“AJM”). He has 46 peer-reviewed publications and has commented extensively on the

  medical response to the COVID-19 crisis. On November 19, 2020, Dr. McCullough

  testified before the United States Senate Committee on Homeland Security and

  Governmental Affairs. Throughout 2020 and 2021, he testified before the Texas Senate

  Committee on Health and Human Services, Colorado General Assembly, New

  Hampshire Senate, Pennsylvania Senate, and South Carolina Senate concerning many

  aspects of the pandemic response.      Dr. McCullough has had thirty (30) months of

  dedicated academic and clinical experience in combating the SARS-CoV-2 virus. He has

  reviewed thousands of reports, participated in scientific congresses, group discussions,

  and press releases. On January 24, 2022, Dr. McCullough co-moderated and testified in




                                               2
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 3 of 14 PageID# 3




  the U.S. Senate Panel “COVID-19: A Second Opinion” chaired by Senator Ron Johnson.

  Dr. McCullough is considered one of the world’s leading experts on COVID-19.

          2.       In October 2021, Defendants broadly attacked and defamed Dr.

  McCullough in a series of articles published in Virginia and throughout the United States.

  Defendants falsely accused Dr. McCullough of misinformation, disinformation,

  dishonesty, medical malpractice and imputed to him unfitness to practice medicine.

          3.       In this action, Dr. McCullough seeks presumed damages, actual damages,

  special damages and punitive damages as a result of Defendants’ defamation.

                                        II. PARTIES

          4.       Dr. McCullough is a citizen of Texas.

          5.       Defendant Gannett is a Delaware corporation with its headquarters and

  principal place of business in McLean, Virginia.         Gannett is the country’s largest

  newspaper chain. It publishes USA Today. The articles at issue in this case, identified

  below, were published and read in Virginia, where Dr. McCullough suffered substantial

  damage. See, e.g., Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 776 (1984) (“[f]alse

  statements of fact harm both the subject of the falsehood and the readers of the statement

  … The tort of libel is generally held to occur wherever the offending material is

  circulated.”).

          6.       Defendant BEE is owned by Gannett and is part of the USA Today

  network. At all times relevant to this action, Gannett controlled the process pursuant to

  which the offending articles were reported, edited and published, including the code of

  ethics and standard of care applicable to BEE’s conduct.




                                               3
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 4 of 14 PageID# 4




         7.      Defendant Malik is a citizen of Oklahoma. Malik works for Ascension, a

  healthcare organization located in Oklahoma, or one of Ascension’s affiliated practices

  and hold’s privileges at Ascension and with those affiliations. On the internet and

  elsewhere, Malik associated his views with Ascension. In reaching out to Gannett and

  BEE, Malik acted as an agent of Ascension within the scope of his employment and in

  pursuit of Ascension’s business. Malik and Ascension published false statements about

  Dr. McCullough to Gannett and BEE that Malik and Ascension knew would be published

  and circulated in Virginia.

                            III. JURISDICTION AND VENUE

         8.      The United States District Court for the Eastern District of Virginia has

  subject matter jurisdiction over this action pursuant to Title 28 U.S.C. § 1332 (Diversity).

  The parties are citizens of different States. The amount in controversy exceeds the sum

  of $75,000, exclusive of interest and costs.

         9.      Gannett and BEE are at home in Virginia and are subject to general

  personal jurisdiction in Virginia. Malik and Ascension are subject to the Court’s specific

  personal jurisdiction. Malik and Ascension are subject to long-arm jurisdiction and have

  sufficient minimum contacts with Virginia such that the exercise of personal jurisdiction

  over them comports with traditional notions of fair play and substantial justice and is

  consistent with the Due Process Clause of the United States Constitution.

         10.     Venue is proper in this Court pursuant to Title 18 U.S.C. §§ 1391(b)(1)

  and (b)(2). Defendants are subject to personal jurisdiction in Virginia. The statements at

  issue were intentionally published in and throughout Virginia, including in the Eastern

  District, where Dr. McCullough suffered substantial injury.




                                                 4
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 5 of 14 PageID# 5




                        IV. STATEMENT OF MATERIAL FACTS

         11.       On October 2, 2021, Gannett and BEE published an article entitled,

  “Texas doctor critical of COVID-19 vaccines to speak at Bartlesville Community

  Center”.      [https://www.examiner-enterprise.com/story/news/2021/10/02/texas-doctor-

  critical-science-covid-19-vaccines-speak-bcc/5902300001/ (the “Article”)]. The Article

  includes a statement by Malik and Ascension that Dr. McCullough’s views on vaccine

  safety and early treatment of COVID-19 are “dangerous to the public and pure

  quackery”.1 In the Article, Malik and Ascension falsely accuse Dr. McCullough of

  spreading disinformation about the vaccines.         They state that Dr. McCullough is

  “pathological” and that he was “killing people” in October 2021 by causing them to

  remain unvaccinated.

         12.       On October 6, 2021, Gannett and BEE published a second article entitled,

  “Doctor fired for spreading COVID misinformation finds supportive crowd in

  Bartlesville”.       [https://www.examiner-enterprise.com/story/news/2021/10/06/doctor-

  fired-baylor-spreading-covid-19-misinformation-finds-supportive-crowd-

  bartlesville/5995698001/ (the “Second Article”)]. In the Second Article, Gannett and

  BEE falsely state that Dr. McCullough was “fired” from several medical centers and


         1
                  A “quack” is an “an ignorant, misinformed, or dishonest practitioner of
  medicine”. [See, e.g., https://www.merriam-webster.com/dictionary/quack; see also
  http://www.oxforddictionaries.com/definition/english/quack (defining “quack” as “[a]
  person who dishonestly claims to have special knowledge and skill in some field,
  typically medicine”)]; Restatement (Second) of Torts 573, comment c (“Statements that a
  physician is a drunkard or a quack, or that he is incompetent or negligent in the practice
  of his profession, are actionable.”); id. Barrett v. Rosenthal, 40 Cal.4th 33, 51 Cal.Rptr.3d
  55, 146 P.3d 510, 529 (2006) (doctors who claimed defamation in connection with
  actions of alternative health proponent, who had posted messages to newsgroups on the
  Internet referring to doctors as “quacks” were limited to pursuing actions against
  originators of allegedly defamatory Internet publications).



                                               5
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 6 of 14 PageID# 6




  universities “for spreading COVID misinformation”.2 Gannett and BEE further falsely

  state that Dr. McCullough is “largely discredited by the scientific community for his

  assertions that the COVID-19 vaccines are unsafe and that early treatment options have

  been suppressed”. In the Second Article, Gannett and BEE republished a statement by

  Malik and Ascension that accused Dr. McCullough of being “a modern-day quack”.

  Gannett and BEE misrepresented that Dr. McCullough made “multiple claims that are

  largely uncorroborated [and disproven] by the scientific community”; that Dr.

  McCullough misstated that “15,937 Americans have died after taking the vaccine”; and

  that Dr. McCullough “blatantly” misstated that there is not a vaccine safety board.

  Gannett and BEE falsely opined that there was “likely a good reason” to believe that Dr.

  McCullough risked losing his “certification” from the American Board of Internal

  Medicine. Finally, Gannett and BEE republished Malik and Ascension’s false statement

  that Dr. McCullough’s claims “fail to meet the standard of what is true”.

         13.     Both the Article and Second Article were immediately understood by

  readers to convey a defamatory meaning about Dr. McCullough. The language in the

  Articles injured Dr. McCullough’s reputation, held him up to scorn, shame, ridicule, and

  contempt, and rendered him infamous, odious, and ridiculous in the eyes of readers, e.g.:



         2
                 According to the United States Department of Homeland Security
  (“DHS”), “misinformation” is “false information shared with others without the intent to
  mislead.” “Disinformation”, by comparison, is “manufactured information that is
  deliberately created or disseminated with the intent to cause harm.”
  https://www.dhs.gov/sites/default/files/publications/ia/ia_combatting-targeted-
  disinformation-campaigns.pdf, p. 4]. According to DHS, the spread of misinformation
  has helped to create a heightened terrorist threat to the United States homeland.
  [https://www.dhs.gov/sites/default/files/ntas/alerts/22_0207_ntas-bulletin.pdf;
  https://www.cisa.gov/mdm;      https://dailycaller.com/2022/02/09/department-homeland-
  security-misinformation-covid-19-election-fraud-possible-terrorist-threat/].


                                              6
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 7 of 14 PageID# 7




        https://twitter.com/Emerson_Gravely/status/1478313481438994434
        (“McCullough lies”)

        https://twitter.com/kohenari/status/1454063858100969481
        (“The guy they’re featuring is a totally discredited quack who was fired for
        continually spreading Covid misinformation”);

        https://twitter.com/Welches/status/1527722282772307969
        (“Oh great, the … doctor who was fired for constantly spreading blatantly made
        up information”);

        https://twitter.com/chucktortellini/status/1508792188909633538
        (“Peter Mccullough is a quack”);

        https://twitter.com/Limerick1914/status/1471029327949139971
        (“If you can read you have the credentials to see that this individual is a grifter
        and a conspiracy theorist. It’s also likely that his continued spreading of blatant
        disinformation will eventually lead to his decertification as a doctor”);

        https://twitter.com/SigmaBetaZed/status/1473104252662960131
        (Dr. McCullough has “seemingly gone off the rails”);

        https://twitter.com/dr_salim_MD/status/1471099247097532421
        (“Peter is seducing people to get a deadly #covid virus, deal with consequences
        including death”);

        https://twitter.com/LucyAppa/status/1474994355589029890
        (“One of the finest epidemiologists in the US? He’s a cardiologist who was fired
        from his job for spreading lies about COVID”);

        https://twitter.com/FTR83089462/status/1558669435396833281
        (“Dr Peter McCullough is a liar. The AMA should have revoked license by now
        for the lies about the virus that he has not only told – but published”);

        https://twitter.com/center4inquiry/status/1446486682753175560
        (“Watch out for this guy, Texas cardiologist Peter McCullough, fired for pushing
        anti-vaxxer misinformation. He’s now a big hero to the reality-denial crowd. Dr.
        Anuj Malik called him a ‘politically-motivated, ideological speech by a modern-
        day quack’”).

        14.    Defendants’ false and defamatory statements injured Dr. McCullough’s

  reputation and business.    Dr. McCullough lost numerous business opportunities,

  including speaking engagements, and substantial consulting income.        Media outlets




                                             7
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 8 of 14 PageID# 8




  cancelled appearances due to the defamation, and potential business partners stepped

  back because of the reputational risk created by Defendants. Dr. McCullough’s ability to

  treat patients was severely impaired.      Dr. McCullough felt insulted, humiliated and

  embarrassed when he saw/read the false statements contained in the Article and Second

  Article. He continuously suffers public shame, ridicule, emotional distress, anxiety,

  insecurity, fear for his safety and the safety of family members, fear that the defaming

  remarks have reached family, friends, colleagues and other members of the public beyond

  the medical community, fear that he has lost standing and credibility in the community,

  fear that he will never be able to clear his name, and injury to his reputation.

                                 COUNT I – DEFAMATION

         15.     Dr. McCullough restates paragraphs 1 through 14 of this Complaint, and

  incorporates them herein by reference.

         16.     Gannett, BEE, Malik and Ascension made, published and republished

  numerous false factual statements of fact and actionable opinions of and concerning Dr.

  McCullough. These statements and opinions are detailed verbatim above. Defendants

  published the false statements and actionable opinions without privilege of any kind.

         17.     Comparing the false statements to the truth, it is beyond peradventure that

  Defendants’ statements are materially false and, in some cases, entirely false. Compare

  Nunes v. W.P. Company, 2021 WL 3550896, at * 4 (D. D.C. 2021) (“A reasonable juror

  could conclude that there is a material difference between stating that Nunes had made a

  claim supported by evidence (that the Obama administration had undertaken intelligence

  activities related to individuals involved in the Trump campaign) and stating that Nunes

  had made a baseless claim (that the Obama administration had wiretapped Trump




                                                8
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 9 of 14 PageID# 9




  Tower). A reasonable juror could therefore conclude that the article was materially false

  because it stated that Nunes had made such a baseless claim (when he had not).”); see

  also Bustos v. A&E Networks, 646 F.3d 762, 767 (10th Cir. 2011) (Gorsuch, J.)

  (“Comparing the challenged defamatory statement (membership in the Aryan

  Brotherhood) to the truth (conspiring with and aiding and abetting the Aryan

  Brotherhood), we cannot see how any juror could find the difference to be a material

  one—that is, likely to cause a reasonable member of the general public to think

  significantly less favorably of Mr. Bustos”).

         18.     The false statements are defamatory per se. The statements accuse and

  impute to Dr. McCullough unfitness to perform the duties of an office or employment for

  profit, or the want of integrity in the discharge of the duties of such office or

  employment,     including   professional   incompetence,    malpractice,   disinformation,

  deception, misinformation, lack of ethics, lack of integrity and lack of veracity. The

  statements severely prejudice Dr. McCullough in his profession as a medical doctor and

  consultant.

         19.     By publishing the statements to Gannett’s online subscribers, advertisers

  and readers in Virginia and elsewhere in the United States, Gannett, BEE, Malik and

  Ascension knew or should have known that the statements would be republished over and

  over by third-parties to Dr. McCullough’s detriment. Republication was the natural and

  probable consequence of Defendants’ actions and was actually and/or presumptively

  authorized by Defendants. In addition to their original publications, Defendants are liable

  for the millions of third-party republications of the false and defamatory statements

  within the past year under the republication rule.




                                                  9
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 10 of 14 PageID# 10




          20.     Gannett, BEE, Malik and Ascension published the false and defamatory

   statements with actual knowledge that they were false or with reckless disregard for

   whether they were false. Defendants acted with actual malice and reckless disregard for

   the truth for the following reasons:

                  a.      Given Dr. McCullough’s credentials and stature in the medical

   community as of October 2021 (which was researched by and well-known to each

   Defendant), Defendants’ scandalous and egregiously insulting statements about Dr.

   McCullough were so inherently improbable that only a reckless person would have put

   the statements in circulation. St. Amant v. Thompson, 390 U.S. 727, 732 (1968)

   (“Professions of good faith will be unlikely to prove persuasive, for example, … when

   the publisher’s allegations are so inherently improbable that only a reckless man would

   have put them in circulation.”); US Dominion, Inc. v. Powell, 554 F.Supp.3d 42, 63 (D.

   D.C. 2021) (“a reasonable juror could conclude that the existence of a vast international

   conspiracy that is ignored by the government but proven by a spreadsheet on an internet

   blog is so inherently improbable that only a reckless man would believe it.”).

                  b.      Gannett, BEE, Malik and Ascension knew the statements were

   false and harbored serious doubts as to the veracity of the statements. Many of the

   statements are directly contradicted by peer-review studies and published research in

   Defendants’ possession, demonstrating that the statements in the Article and Second

   Article are knowingly false. Defendants fabricated the statements and made up facts out

   of whole cloth. St. Amant, 390 U.S. at 732 (“Professions of good faith will be unlikely to

   prove persuasive, for example, where a story is fabricated by the defendant [or] is the

   product of his imagination”); Miller v. Watkins, 2021 WL 924843, at * 18 (Tex App.




                                               10
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 11 of 14 PageID# 11




   2021) (“If Miller indeed fabricated her allegations, then she by definition entertained

   serious doubts about them and had a high degree of awareness of the statements’

   falsity”).

                  c.      Prior to publication, Gannett, BEE, Malik and Ascension harbored

   an institutional hostility, hatred, extreme bias, spite and ill-will towards Dr. McCullough.

   This bias and prejudice motivated Defendants to publish the intentionally false

   statements about Dr. McCullough. Defendants intended to inflict harm through knowing

   or reckless falsehoods. Don King Productions, Inc. v. Walt Disney Co., 40 So.3d 40, 45

   (Fla. 4th DCA 2010) (“[a]n intention to portray a public figure in a negative light, even

   when motivated by ill will or evil intent, is not sufficient to show actual malice unless the

   publisher intended to inflict harm through knowing or reckless falsehood.”) (citing

   Garrison v. Louisiana, 379 U.S. 64, 73 (1964)); Cochran v. Indianapolis Newspapers,

   Inc., 175 Ind.App. 548, 372 N.E.2d 1211, 1221 (1978) (evidence of ill will creates jury

   question on actual malice where “[t]here are no facts or statements of record which even

   remotely support” the defamatory implication at issue); see Duffy v. Leading Edge

   Products, Inc., 44 F.3d 308, 315 fn. 19 (5th Cir. 1995) (“[E]vidence of ill will can often

   bolster an inference of actual malice.”).

                  d.      Gannett and BEE intentionally abandoned all journalistic standards

   and integrity, including their own code of ethics, in publishing and republishing the false

   statements. Curtis Pub. Co. v. Butts, 388 U.S. 130, 161 (1967) (“Where a publisher’s

   departure from standards of press responsibility is severe enough to strip from him the

   constitutional protection our decision acknowledges, we think it entirely proper for the

   State to act not only for the protection of the individual injured but to safeguard all those




                                                11
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 12 of 14 PageID# 12




   similarly situated against like abuse”). Gannett and BEE did not seek the truth or report

   it. They betrayed the truth for the sake of their systemic bias against Dr. McCullough.

   Rather than minimize harm, Defendants immediately set out to inflict maximum pain and

   suffering on Dr. McCullough in order to harm his reputation. Defendants published the

   statements in the broadest manner possible, for the sole purpose of injuring Dr.

   McCullough’s reputation. They refuse to be accountable; refuse to acknowledge their

   mistakes; and, of course, refuse to apologize. As a sure sign of their actual malice,

   Defendants did not even bother to contact Dr. McCullough for comment prior to

   publication. Project Veritas v. New York Times, Case 63921/2020 (Westchester County

   Mar. 18, 2021) (Opinion & Order, p. 13) (one of the reasons the New York Times was

   guilty of actual malice was that it intentionally declined to seek comment from the

   plaintiff prior to publication, which “blatantly violated NYT’s own published policies and

   ethical guidelines”.).

          21.     As a direct result of Gannett, BEE, Malik and Ascension’s defamation, Dr.

   McCullough suffered presumed damages, actual damages and special damages,

   including, but not limited to, loss of income, impaired future earnings and career damage,

   insult, pain, embarrassment, humiliation, mental suffering (past and future), injury to his

   reputation (past and future), costs and other out-of-pocket expenses, in the amount of

   $10,000,000.00 or such greater sum as is determined by the Jury.




                                               12
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 13 of 14 PageID# 13




          Dr. McCullough alleges the foregoing based upon personal knowledge, public

   statements of others, and records in his possession.       Dr. McCullough believes that

   substantial additional evidentiary support, which is in the exclusive possession of

   Defendants, their agents and other third-parties, will exist for the allegations and claims

   set forth above after a reasonable opportunity for discovery.

          Dr. McCullough reserves his right to amend this Complaint upon discovery of

   additional instances of Defendants’ wrongdoing.



                      CONCLUSION AND REQUEST FOR RELIEF

          WHEREFORE, Dr. McCullough respectfully requests the Court to enter

   Judgment against Defendants, jointly and severally, as follows:

          A.      Compensatory damages in the amount of $10,000,000.00;

          B.      Punitive damages in the maximum amount allowed by law;

          C.      Prejudgment interest on the principal sum awarded by the Jury at the

   maximum rate allowed by law;

          D.      Postjudgment interest at the maximum rate allowed by law;

          E.      Costs and other recoverable amounts as allowed by law;

          F.      Such other relief as is just and proper.



                             TRIAL BY JURY IS DEMANDED



   DATED:         September 26, 2022




                                                13
Case 1:22-cv-01099-RDA-JFA Document 1 Filed 09/26/22 Page 14 of 14 PageID# 14




                          DR. PETER A. MCCULLOUGH



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                                      14
